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Form fnldec (12/03)


                              UNITED STATES BANKRUPTCY COURT
                                       District of Maryland
                                                Baltimore Division
                                         101 West Lombard Street, Ste. 8303
                                              Baltimore, MD 21201

                                   Case No.: 05−12104          Chapter: 7

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 6 years, including married, maiden, trade, and address):

   Tamer Sawalhi                                            Amal Sawalhi
   debtor has no known aliases                              debtor has no known aliases
   5 Elkhart Court                                          5 Elkhart Court
   Rosedale, MD 21237                                       Rosedale, MD 21237
   Social Security No.: xxx−xx−8715                         xxx−xx−7091
   Employer's Tax I.D. No.:

 Petition for Relief under Chapter 7 of Title 11, U.S. Code, filed by or against the above−named Debtor(s) on 2/1/05



                                                FINAL DECREE

The estate of the above−named debtor(s) has been fully administered.


IT IS ORDERED THAT:

Mark J. Friedman is discharged as trustee of the estate of the above−named debtor and the bond is cancelled; and the
chapter 7 case of the above named debtor is closed.


Dated: 5/17/05

                                                            E. Stephen Derby
                                                            U.S. Bankruptcy Judge
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 Enterprise Systems Incorporated
 11487 Sunset Hills Road
                                   CERTIFICATE OF SERVICE
 Reston, Virginia 20190-5234

 District/off: 0416-1                 User: admin                         Page 1 of 1                         Date Rcvd: May 17, 2005
 Case: 05-12104                       Form ID: fnldec                     Total Served: 3

 The following entities were served by first class mail on May 19, 2005.
 db        +Amal Sawalhi,   5 Elkhart Court,   Rosedale, MD 21237-1416
 db        +Tamer Sawalhi,   5 Elkhart Court,   Rosedale, MD 21237-1416
 aty       +Randolph N. Blair, Sr,   6914 A. Holabird Ave.,   Baltimore, MD 21222-1747
 The following entities were served by electronic transmission.
 NONE.                                                                                                              TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                              TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.




Date: May 19, 2005                                      Signature:
